                                      CASE 0:23-cr-00260-ADM-DTS Doc. 7 Filed 09/07/23 Page 1 of 1

                                                  IN THE UNITED STATES DISTRICT COURT
                                                     FOR THE DISTRICT OF MINNESOTA

                                                      INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                   )             COURTROOM MINUTES - CRIMINAL
                                                            )                  BEFORE: Tony N. Leung
                                         Plaintiff,         )                   U.S. Magistrate Judge
                                                            )
   v.                                                       )     Case No:            23-cr-260 ADM/DTS
                                                            )     Date:               September 7, 2023
Lindsay Marie Carroll,                                      )     Courthouse:         Minneapolis
                                                            )     Courtroom:          9W
                                         Defendant,         )     Time Commenced: 1:56 p.m.
                                                                  Time Concluded:     2:03 p.m.
                                                                  Time in Court: 7 minutes



APPEARANCES:

   Plaintiff: Justin Wesley, Assistant U.S. Attorney
   Defendant: Rachael Goldberger
                          X Retained

   Date Charges Filed: 8/23/2023                           Offense: Possession with intent to distribute cocaine.

   X Advised of Rights

on            X Indictment


X Personal Recognizance Bond set with conditions, see Order Setting Conditions of Release.


X Government moves to unseal the case.                     X Granted

Additional Information:

X Oral Rule5(f) Brady notice read on the record.
X Defendant was also arraigned at this hearing, see separate arraignment minutes.




                                                                                                 s/Ashley Nelson
                                                                                                     Signature of Courtroom Deputy

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